       Case 2:25-cv-00858-MCS-E                 Document 13           Filed 02/24/25       Page 1 of 3 Page ID #:49


                                                                                                    u.s.
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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
                                                                   CASE NiJMBER

                                                                     2:25-CV-00858-MCS(Ex)
                                                   Plaintiff(s),
ALISSA EMMEL                   ~'
                                                                         NOTICE OF DISMISSAL PURSUANT
                                                                           TO FEDERAL RULES OF CIVIL
                                                                              PROCEDURE 41{a) or(c)
                                                 Defendant(s).

PLEASE TAKE NOTICE:(Check one)

    L
    ~ This action is dismissed by the Plaintiffs) in its entirety.

    ❑ The Counterclaim brought by Claimants)                                                                          is
      dismissed by Claimants) in its entirety.

    ❑ The Cross-Claim brought by Claimants(s)                                                                         is
      dismissed by the Claimants) in its entirety.

    ❑ The Third-party Claim brought by Claimants)                                                                     is
      dismissed by the Claimants) in its entirety.

    ❑ ONLY Defendants)

         is/are dismissed from (check one) ❑Complaint, ❑Counterclaim, OCross-claim, DThird-Party Claim
         brought by

    The dismissal is made pursuant to F.R.Civ.P. 41(a) or (c).




    02/21/2025                                                                    V""`~
                 Date                                               Signat re ofAttorney/Parry




NOTE: F.R.~'iuP. 41(a): This notice may befiled at any time before service by the adverse party ojan answer or oja motionjor
      summary judgment, whicheverfirst occurs.

        F.R.Civ.P. 41(c): Counterclaims, cross-claims &thirdparty claims may be dismissed before service ofa responsive
        pleading or prior to the beginning oftrial.



CV-09(03/10)            NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 41(a) or(c)
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Case 2:25-cv-00858-MCS-E        Document 13   Filed 02/24/25   Page 3 of 3 Page ID #:51




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